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UNITED STATES DISTRICT COURT

 

_SOUTHERN DISTRICT OF NEW YORK .
MARCOS CALCANO, on behalf of himself
_ and all other persons similarly situated,
No. 1:19-cvy-11227-GBD
Plaintiffs,
-against-

CANADA GOOSE US, INC.,

Defendant.

 

 

STIPULATION OF DISMISSAL WITH PREJUDICE
IT IS HEREBY STIPULATED AND AGREED, by the parties to this action, by
and through their undersigned counsel, that this action is distidoacd with prejudice

pursuant to the Federal Rules of Civil Procedure 41(a)(1)(A)(@). Each party shall bear its

or their own legal fees and costs.

Dated: ‘ 24 FOO
ew York, New York

| COTTLIES & wP Ney oe

 

  

J : Gotflieb, Esq. Fred H. Perkins, Esq. |

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